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IN THE UNITED sTATES DlsTRlCT coURT
FOR THE wEsTERN DISTRICT oF TENNESSEE 2005 JUL 29 PH 3: 53
wEsTERN DIvIsloN

UNITED STATES OF AMERICA,
Plaintiff,

v.

SI-IELDRICK EDWARDS,

Defendant.

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MOTION TO CONTINUE SENTENCING HEARING

 

 

The United States of America, by and through Terrell L. Harn's, United States Attomey for

the Western Di strict of Tennessee, and Scott F. Leary, Assistant United States Attorney, respectfully

requests a two week continuance of the sentencing hearing in the above referenced matter. The

sentencing hearing is currently set for 1:30 p.m.,\ Tuesday, August 2, 2005.

The government’s attorney, Scott F. Leary, has recently taken over this case from Leonard

E. Lucas, who recently left the United States Attorney’s Off'lce. Scott F. Leary has trial set for

August lst, 2d and 3d, and is leaving on a family vacation on Thu.rsday, August 4th. The

government has spoken with defense counsel and there are no objections to the continuance of the

sentencing hearing

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BERN|CE BOUIE DONA '
U.S. DISTRICT JUDGEL° '

This document entered on the dockets et
wlth Flule 55 and,'or 32(b) FRCrP on

  
   
   
 

BY:

Respectfully submitted,

TERRELL L. HARRIS
United Stat Attomey

       

Assistant United tates Attorney
167 North Main Street, Sth Floor
Memphis, TN 38103

(#022357 Tenncssee)

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CERTIFICATE OF SERVICE
I, Scott F. Leary, Assistant United States Attorney for the Western District of Tennessee,
hereby certify that a copy of the foregoing motion has been sent, flrst class postage pre-paid, William
Anderson, Attorney at Law, 142 North Third Street, 3rd Floor, Mernphis, Tennessee 38103, counsel
for the defendant

This 29th day of July, 2005.

 

SCOTT F. LEAR /
Assistant United es Attorney

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 99 in
case 2:03-CR-20316 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

Scott F. Leary

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Honorable Bernice Donald
US DISTRICT COURT

